               Case 1:19-cv-01090-CFC Document 35 Filed 06/14/19 Page 1 of 6 PageID #: 1190
                                                                                         BER,CLOSED,REF_DISCOV
                                         U.S. District Court
                           Southern District of Florida (West Palm Beach)
                          CIVIL DOCKET FOR CASE #: 9:19−cv−80074−RLR

UMB Bank, N.A. v. Sun Capital Partners V, L.P. et al                  Date Filed: 01/17/2019
Assigned to: Judge Robin L. Rosenberg                                 Date Terminated: 06/11/2019
Referred to: Magistrate Judge Bruce E. Reinhart                       Jury Demand: Plaintiff
Cause: 28:1331 Federal Question                                       Nature of Suit: 890 Other Statutory Actions
                                                                      Jurisdiction: Federal Question
Plaintiff
UMB Bank, N.A.                                         represented by Eric D. Madden
as Plan Trustee of The Limited Creditors'                             Reid Collins & Tsai, LLP
Liquidating Trust                                                     Email: emadden@rctlegal.com
                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED

                                                                     Gregory S. Schwegmann
                                                                     Reid Collins & Tsai, LLP
                                                                     Email: gschwegmann@rctlegal.com
                                                                     PRO HAC VICE
                                                                     ATTORNEY TO BE NOTICED

                                                                     Michael J. Yoder
                                                                     Reid Collins & Tsai, LLP
                                                                     Email: myoder@rctlegal.com
                                                                     PRO HAC VICE
                                                                     ATTORNEY TO BE NOTICED

                                                                     Kenneth Dante Murena
                                                                     Damian & Valori LLP
                                                                     1000 Brickell Avenue
                                                                     Suite 1020
                                                                     Miami, FL 33131
                                                                     (305) 371−3960
                                                                     Fax: (305) 371−3965
                                                                     Email: kmurena@dvllp.com
                                                                     ATTORNEY TO BE NOTICED


V.
Defendant
Sun Capital Partners V, L.P.                           represented by Jodi Ann Avila
                                                                      Baker & McKenzie
                                                                      Litigation
                                                                      1111 Biscayne Blvd
                                                                      Suite 1700
                                                                      Miami, FL 33131
                                                                      305.789.8982
                                                                      Email: jodi.avila@bakermckenzie.com
             Case 1:19-cv-01090-CFC Document 35 Filed 06/14/19 Page 2 of 6 PageID #: 1191
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

                                                              Michael A. Duffy
                                                              Baker &McKenzie, LLP
                                                              300 East Randolph Street, Suite 5000
                                                              Chicago, IL 60601
                                                              Email: Michael.duffy@bakermckenzie.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Michael C. McCutcheon
                                                              Baker &McKenzie, LLP
                                                              300 East Randolph Street, Suite 5000
                                                              Chicago, IL 60601
                                                              Email: Michael.mccutcheon@bakermckenzie.com
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

Defendant
Sun Mod Fashions IV, LLC                     represented by Jodi Ann Avila
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                              Michael A. Duffy
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Michael C. McCutcheon
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

Defendant
Sun Mod Fashions V, LLC                      represented by Jodi Ann Avila
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

                                                              Michael A. Duffy
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

                                                              Michael C. McCutcheon
                                                              (See above for address)
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

Defendant
H.I.G. Sun Partners, LLC                     represented by
             Case 1:19-cv-01090-CFC Document 35 Filed 06/14/19 Page 3 of 6 PageID #: 1192
                                                                         Jodi Ann Avila
                                                                         (See above for address)
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Michael A. Duffy
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED

                                                                         Michael C. McCutcheon
                                                                         (See above for address)
                                                                         PRO HAC VICE
                                                                         ATTORNEY TO BE NOTICED


Date Filed      #   Docket Text

01/17/2019     Ï1   COMPLAINT against All Defendants. Filing fees $ 400.00 receipt number 113C−11323348, filed by
                    UMB Bank, N.A., as Plan Trustee of The Limited Creditors' Liquidating Trust. (Attachments: # 1
                    Civil Cover Sheet, # 2 Exhibit A)(Murena, Kenneth) (Entered: 01/17/2019)

01/17/2019     Ï2   Clerks Notice of Judge Assignment to Judge Robin L. Rosenberg and Magistrate Judge Bruce E.
                    Reinhart.

                    Pursuant to 28 USC 636(c), the parties are hereby notified that the U.S. Magistrate Judge Bruce E.
                    Reinhart is available to handle any or all proceedings in this case. If agreed, parties should complete
                    and file the Consent form found on our website. It is not necessary to file a document indicating lack
                    of consent. (pcs) (Entered: 01/18/2019)

01/18/2019     Ï3   Clerks Notice to Filer re: Electronic Case. Party(ies) Improperly Formatted. The Filer failed to enter
                    the party name(s) in accordance with the CM/ECF Format for Adding Parties for Attorneys Guide.
                    The correction was made. It is not necessary to re−file the document. (pcs) (Entered: 01/18/2019)

01/23/2019     Ï4   Corporate Disclosure Statement by UMB Bank, N.A. (Murena, Kenneth) (Entered: 01/23/2019)

03/04/2019     Ï5   ORDER SETTING STATUS CONFERENCE, CALENDAR CALL, AND TRIAL DATE, ORDER
                    OF REQUIREMENTS, AND ORDER OF REFERENCE TO MAGISTRATE JUDGE: ( Jury Trial set
                    for 1/21/2020 09:00 AM in West Palm Beach Division before Judge Robin L. Rosenberg., Calendar
                    Call set for 1/15/2020 09:00 AM before Judge Robin L. Rosenberg., Status Conference set for
                    12/18/2019 09:30 AM before Judge Robin L. Rosenberg.), Signed by Judge Robin L. Rosenberg on
                    3/4/2019. See attached document for full details. (drz)

                    Pattern Jury Instruction Builder − To access the latest, up to date changes to the 11th Circuit Pattern
                    Jury Instructions go to https://pji.ca11.uscourts.gov or click here. (Entered: 03/04/2019)

03/04/2019     Ï6   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                    Notices of Electronic Filing for Eric D. Madden. Filing Fee $ 75.00 Receipt # 113C−11443010 by
                    UMB Bank, N.A.. Responses due by 3/18/2019 (Attachments: # 1 Text of Proposed Order)(Murena,
                    Kenneth) (Entered: 03/04/2019)

03/04/2019     Ï7   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                    Notices of Electronic Filing for Gregory S. Schwegmann. Filing Fee $ 75.00 Receipt #
                    113C−11443051 by UMB Bank, N.A.. Responses due by 3/18/2019 (Attachments: # 1 Text of
                    Proposed Order)(Murena, Kenneth) (Entered: 03/04/2019)
             Case 1:19-cv-01090-CFC Document 35 Filed 06/14/19 Page 4 of 6 PageID #: 1193
03/05/2019     Ï8    CERTIFICATE OF SERVICE by UMB Bank, N.A. re 1 Complaint, (Attachments: # 1 Exhibit
                     A)(Murena, Kenneth) (Entered: 03/05/2019)

03/06/2019     Ï9    PAPERLESS ORDER granting 6 Motion to Appear Pro Hac Vice, Consent to Designation, and
                     Request to Electronically Receive Notices of Electronic Filing for Attorney Eric D. Madden. Signed
                     by Magistrate Judge Bruce E. Reinhart on 3/6/2019. (hk02) (Entered: 03/06/2019)

03/06/2019    Ï 10   PAPERLESS ORDER granting 7 Motion to Appear Pro Hac Vice, Consent to Designation, and
                     Request to Electronically Receive Notices of Electronic Filing for Attorney Gregory S. Schwegmann.
                     Signed by Magistrate Judge Bruce E. Reinhart on 3/6/2019. (hk02) (Entered: 03/06/2019)

03/12/2019    Ï 11   NOTICE of Attorney Appearance by Jodi Ann Avila on behalf of H.I.G. Sun Partners, LLC, Sun
                     Capital Partners V, L.P., Sun Mod Fashions IV, LLC, Sun Mod Fashions V, LLC. Attorney Jodi Ann
                     Avila added to party H.I.G. Sun Partners, LLC(pty:dft), Attorney Jodi Ann Avila added to party Sun
                     Capital Partners V, L.P.(pty:dft), Attorney Jodi Ann Avila added to party Sun Mod Fashions IV,
                     LLC(pty:dft), Attorney Jodi Ann Avila added to party Sun Mod Fashions V, LLC(pty:dft). (Avila,
                     Jodi) (Entered: 03/12/2019)

03/12/2019    Ï 12   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                     Notices of Electronic Filing for Michael A. Duffy. Filing Fee $ 75.00 Receipt # 113C−11466930 by
                     H.I.G. Sun Partners, LLC, Sun Capital Partners V, L.P., Sun Mod Fashions IV, LLC, Sun Mod
                     Fashions V, LLC. Responses due by 3/26/2019 (Attachments: # 1 Exhibit Certificate of Good
                     Standing, # 2 Certification Oursuant to Rule 4(b), # 3 Text of Proposed Order)(Avila, Jodi) (Entered:
                     03/12/2019)

03/12/2019    Ï 13   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                     Notices of Electronic Filing for Michael C. McCutcheon. Filing Fee $ 75.00 Receipt #
                     113C−11467003 by H.I.G. Sun Partners, LLC, Sun Capital Partners V, L.P., Sun Mod Fashions IV,
                     LLC, Sun Mod Fashions V, LLC. Responses due by 3/26/2019 (Attachments: # 1 Exhibit Certificate
                     of Good Standing, # 2 Certification Pursuant to Rule 4(b), # 3 Text of Proposed Order)(Avila, Jodi)
                     (Entered: 03/12/2019)

03/12/2019    Ï 14   STANDING DISCOVERY ORDER FOR MAGISTRATE JUDGE BRUCE REINHART. Signed by
                     Magistrate Judge Bruce E. Reinhart on 3/12/2019. See attached document for full details. (drz)
                     (Entered: 03/12/2019)

03/12/2019    Ï 15   PAPERLESS ORDER denying without prejudice to renew 12 Motion to Appear Pro Hac Vice for
                     Attorney Michael A. Duffy; denying without prejudice to renew 13 Motion to Appear Pro Hac Vice
                     for Attorney Michael C. McCutcheon. Local counsel did not consent to electronically serve all
                     documents and things that may be served electronically or consent to serving documents in
                     compliance with the CM/ECF Administrative Procedures. Please use the language contained in the
                     sample motion found on the Court's website. Signed by Magistrate Judge Bruce E. Reinhart on
                     3/12/2019. (hk02) (Entered: 03/12/2019)

03/12/2019    Ï 16   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                     Notices of Electronic Filing for Michael A. Duffy. Pay.gov Agency Tracking ID 113C−11467003.
                     Filing Fee $ 75.00 by H.I.G. Sun Partners, LLC, Sun Capital Partners V, L.P., Sun Mod Fashions IV,
                     LLC, Sun Mod Fashions V, LLC. Responses due by 3/26/2019 (Attachments: # 1 Exhibit Certificate
                     of Good Standing, # 2 Certification Pursuant to Rule 4(b), # 3 Text of Proposed Order)(Avila, Jodi)
                     (Entered: 03/12/2019)

03/12/2019    Ï 17   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                     Notices of Electronic Filing for Michael C. McCutcheon. Pay.gov Agency Tracking ID
                     113C−11466930. Filing Fee $ 75.00 by H.I.G. Sun Partners, LLC, Sun Capital Partners V, L.P., Sun
                     Mod Fashions IV, LLC, Sun Mod Fashions V, LLC. Responses due by 3/26/2019 (Attachments: # 1
                     Exhibit Certificate of Good Standing, # 2 Certification Pursuant to Rule 4(b), # 3 Text of Proposed
             Case 1:19-cv-01090-CFC Document 35 Filed 06/14/19 Page 5 of 6 PageID #: 1194
                     Order)(Avila, Jodi) (Entered: 03/12/2019)

03/13/2019    Ï 18   PAPERLESS ORDER granting 16 Motion to Appear Pro Hac Vice, Consent to Designation, and
                     Request to Electronically Receive Notices of Electronic Filing for Attorney Michael A. Duffy. Signed
                     by Magistrate Judge Bruce E. Reinhart on 3/13/2019. (hk02) (Entered: 03/13/2019)

03/13/2019    Ï 19   PAPERLESS ORDER granting 17 Motion to Appear Pro Hac Vice, Consent to Designation, and
                     Request to Electronically Receive Notices of Electronic Filing for Attorney Michael C. McCutcheon.
                     Signed by Magistrate Judge Bruce E. Reinhart on 3/13/2019. (hk02) (Entered: 03/13/2019)

03/18/2019    Ï 20   MOTION to Change Venue and Incorporated Memorandum of Law in Support by H.I.G. Sun
                     Partners, LLC, Sun Capital Partners V, L.P., Sun Mod Fashions IV, LLC, Sun Mod Fashions V, LLC.
                     Responses due by 4/1/2019 (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, #
                     5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, #
                     12 Exhibit L, # 13 Exhibit M)(Avila, Jodi) (Entered: 03/18/2019)

03/18/2019    Ï 21   MOTION to Dismiss 1 Complaint, by H.I.G. Sun Partners, LLC, Sun Capital Partners V, L.P., Sun
                     Mod Fashions IV, LLC, Sun Mod Fashions V, LLC. Responses due by 4/1/2019 (Attachments: # 1
                     Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
                     Exhibit H, # 9 Exhibit I)(Avila, Jodi) (Entered: 03/18/2019)

03/21/2019    Ï 22   MOTION to Appear Pro Hac Vice, Consent to Designation, and Request to Electronically Receive
                     Notices of Electronic Filing for Michael J. Yoder. Filing Fee $ 75.00 Receipt # 113C−11495393 by
                     UMB Bank, N.A.. Responses due by 4/4/2019 (Attachments: # 1 Text of Proposed Order)(Murena,
                     Kenneth) (Entered: 03/21/2019)

03/21/2019    Ï 23   Joint MOTION for Extension of Time to File Responses and Replies for: Defendants' Joint Motion to
                     Transfer Venue and Incorporated Memorandum of Law in Support and Defendants' Joint Rule
                     12(b)(6) Motion to Dismiss and Incorporated Memorandum of Law in Support re 20 MOTION to
                     Change Venue and Incorporated Memorandum of Law in Support, 21 MOTION to Dismiss 1
                     Complaint, by UMB Bank, N.A.. Responses due by 4/4/2019 (Attachments: # 1 Text of Proposed
                     Order)(Murena, Kenneth) (Entered: 03/21/2019)

03/24/2019    Ï 24   PAPERLESS ORDER granting 22 Motion to Appear Pro Hac Vice, Consent to Designation, and
                     Request to Electronically Receive Notices of Electronic Filing for Attorney Michael J. Yoder. Signed
                     by Magistrate Judge Bruce E. Reinhart on 3/25/2019. (hk02) (Entered: 03/24/2019)

03/25/2019    Ï 25   PAPERLESS ORDER granting 23 Motion for Extension of Time. The Plaintiff shall have through and
                     including April 15, 2019 to file its Response to the Defendants' Joint Motion to Transfer Venue and its
                     Response to Defendants' Joint Rule 12(b)(6) Motion to Dismiss (collectively, the "Motions"). The
                     Defendants shall have through and including April 22, 2019, to file their Replies in Support of the
                     Motions. Signed by Judge Robin L. Rosenberg on 3/25/2019. (bkd) (Entered: 03/25/2019)

03/26/2019    Ï 26   Joint MOTION for Extension of Time to File Joint Scheduling Report and Proposed Order by UMB
                     Bank, N.A.. Responses due by 4/9/2019 (Attachments: # 1 Exhibit A− Proposed Order)(Murena,
                     Kenneth) (Entered: 03/26/2019)

04/02/2019    Ï 27   PAPERLESS ORDER granting 26 Motion for Extension of Time. The parties shall file the Joint
                     Scheduling Report and Proposed Order within two weeks after the later entryof the Courts Orders on
                     Defendants' Motion to Change Venue [ECF No. 20] or Defendants' Motion to Dismiss [ECF No. 21].
                     Signed by Judge Robin L. Rosenberg on 4/2/2019. (bkd) (Entered: 04/02/2019)

04/15/2019    Ï 28   RESPONSE in Opposition re 20 MOTION to Change Venue and Incorporated Memorandum of Law
                     in Support Plaintiff's Opposition to Defendants' Joint Motion to Transfer Venue filed by UMB Bank,
                     N.A.. Replies due by 4/22/2019. (Attachments: # 1 Affidavit Declaration of Gregory
                     Schwegmann)(Murena, Kenneth) (Entered: 04/15/2019)
             Case 1:19-cv-01090-CFC Document 35 Filed 06/14/19 Page 6 of 6 PageID #: 1195
04/15/2019    Ï 29   RESPONSE in Opposition re 21 MOTION to Dismiss 1 Complaint, Plaintiff's Opposition to Joint
                     Rule 12(b)(6) Motion to Dismiss and Memorandum of Law in Support filed by UMB Bank, N.A..
                     Replies due by 4/22/2019. (Murena, Kenneth) (Entered: 04/15/2019)

04/22/2019    Ï 30   REPLY to Response to Motion re 21 MOTION to Dismiss 1 Complaint, filed by H.I.G. Sun Partners,
                     LLC, Sun Capital Partners V, L.P., Sun Mod Fashions IV, LLC, Sun Mod Fashions V, LLC.
                     (Attachments: # 1 Exhibit J)(Avila, Jodi) (Entered: 04/22/2019)

04/22/2019    Ï 31   REPLY to Response to Motion re 20 MOTION to Change Venue and Incorporated Memorandum of
                     Law in Support filed by H.I.G. Sun Partners, LLC, Sun Capital Partners V, L.P., Sun Mod Fashions
                     IV, LLC, Sun Mod Fashions V, LLC. (Attachments: # 1 Exhibit N, # 2 Exhibit O, # 3 Exhibit P, # 4
                     Exhibit Q)(Avila, Jodi) (Entered: 04/22/2019)

05/01/2019    Ï 32   Plaintiff's MOTION for Leave to File a Sur−Reply Regarding Rule 12(b)(6) Motion to Dismiss by
                     UMB Bank, N.A.. (Attachments: # 1 Exhibit A, # 2 Text of Proposed Order)(Murena, Kenneth)
                     (Entered: 05/01/2019)

05/14/2019    Ï 33   PAPERLESS ORDER denying 32 Motion for Leave to File. If the Reply contains any improper
                     argument, the Court will not consider such argument. If the Court decides that a sur−reply is
                     necessary, the Court will order a sur−reply. Signed by Judge Robin L. Rosenberg on 5/14/2019. (bkd)
                     (Entered: 05/14/2019)

06/11/2019    Ï 34   ORDER Granting 20 Defendant's Motion to Transfer Venue. Signed by Judge Robin L. Rosenberg on
                     6/11/2019. See attached document for full details. (drz) (Entered: 06/12/2019)

06/11/2019      Ï    Case transferred to District of Deleware electronically. (drz) (Entered: 06/12/2019)
